Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit F Page 1 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit F Page 2 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit F Page 3 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit F Page 4 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit F Page 5 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit F Page 6 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit F Page 7 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit F Page 8 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit F Page 9 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                       Exhibit Exhibit F Page 10 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                       Exhibit Exhibit F Page 11 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                       Exhibit Exhibit F Page 12 of 13
Case 22-10695-pmm   Doc 117-6 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                       Exhibit Exhibit F Page 13 of 13
